Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 1 of 12              PageID #: 360




                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII


  KEAWE BRADLEY DEAN MAHINA                         CIV. NO. 19-00440 JAO-RT
  PAI, KAHEANA KATHLEEN KAWALE
  PAI,

                       Plaintiffs,                  FINDINGS AND
                                                    RECOMMENDATION TO 1) GRANT
         vs.                                        DEFENDANT COUNTY OF
                                                    HAWAIʽI’S MOTION FOR
  COUNTY OF HAWAII, JOHN DOE 1,                     SANCTIONS AGAINST PLAINTIFFS
  JOHN DOE 2, JOHN DOES 3-10, JANE                  AND 2) DISMISS THIS ACTION;
  DOES 1-10, DOE CORPORATIONS 2-                    AND 3) ORDER VACATING TRIAL
  10, DOE GOVERNMENTAL ENTITIES                     DATE AND DEADLINES
  1-10,

                       Defendants.



        FINDINGS AND RECOMMENDATION TO 1) GRANT DEFENDANT
          COUNTY OF HAWAIʽI’S MOTION FOR SANCTIONS AGAINST
           PLAINTIFFS AND 2) DISMISS THIS ACTION; AND 3) ORDER
                  VACATING TRIAL DATE AND DEADLINES

        Defendant County of Hawaiʽi’s (“Defendant”) Motion for Sanctions Against

  Plaintiffs for Failure to Obey the Court’s Discovery Order, Dated June 24, 2020

  (“Motion” or “Motion for Sanctions”) (ECF No. 52), filed on July 2, 2020, came on for a

  telephonic hearing on August 13, 2020 (ECF No. 57). Attorney Sinclair Salas-Ferguson

  appeared on behalf Defendant. Plaintiffs Keawe Bradley Dean Mahina Pai (“Mr. Pai”)

  and Kaheana Kathleen Kawale Pai (“Mrs. Pai”) (collectively “Plaintiffs”) failed to

  oppose or respond to the Motion and failed to appear for the hearing. The Court took the

  Motion for Sanctions under advisement.
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 2 of 12                 PageID #: 361




         On August 12, 2020, the Court issued an Order to Show Cause, requiring each

  Plaintiff to file a statement explaining why they failed to comply with the applicable

  rules, failed to prosecute their case, and failed to appear at scheduled hearings. ECF No.

  56. Plaintiffs failed to file their statements by the August 28, 2020 deadline and failed to

  appear at the September 3, 2020 hearing on the Order to Show Cause.

         The Court recognizes that Plaintiffs are proceeding pro se and thus provided them

  with multiple opportunities to comply. However, Plaintiffs failed to litigate several

  matters, including the Motion for Sanctions and Order to Show Cause. Plaintiffs have

  consistently and repeatedly failed to prosecute, comply with deadlines, and respond to

  Court Orders. It appears that Plaintiffs have abandoned this litigation. After careful

  review and evaluation of the records in this case, the five factors under Pagtalunan v.

  Galaza, 291 F.3d 639 (9th Cir. 2002), and the applicable law, the Court FINDS and

  RECOMMENDS that the district court dismiss this action without prejudice.

                                       BACKGROUND

  A.     Plaintiffs’ Attorneys Withdraw as Counsel, and Plaintiffs are Informed of Their

         Obligations as Pro Se Litigants.

         When Plaintiffs filed their Complaint on August 13, 2019, Michael J. Green, Esq.

  and Peter C. Hsieh, Esq. were their attorneys. ECF No. 1. On March 5, 2020, Plaintiffs’

  counsel filed a Motion to Withdraw as Counsel. ECF No. 21. Plaintiffs’ attorneys cited

  substantial irreconcilable differences of opinion, unreasonable financial burden on

  counsel, and counsel’s belief that Plaintiffs’ objectives were imprudent as good cause for

  the Court to permit the withdrawal. ECF No. 21-1. On April 27, 2020, the Court issued


                                               2
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 3 of 12                PageID #: 362




  an Order granting the Motion to Withdraw as Counsel. ECF No. 27. “Plaintiffs [were]

  informed by their attorneys of their obligations to comply with all court rules and

  procedures as pro se plaintiffs[.]” Id.

  B.     Mr. Pai Failed to Appear at the April 30, 2020 Hearing, Mrs. Pai Received Notice

         of the June 12, 2020 Telephone Conference, and Mrs. Pai Confirmed Her Address

         on the Record

         A telephone conference was held on April 30, 2020 regarding Plaintiffs’ status.

  ECF No. 30. Mr. Pai did not appear and failed to give prior notice of his intention to

  miss the hearing. However, Mrs. Pai appeared and informed the Court at the hearing that

  Mr. Pai will not be participating. The Court advised Mrs. Pai that unless successor

  counsel appears, Plaintiffs “will be responsible for prosecuting this action and complying

  with all deadlines, court rules and orders.” Id. Defendant’s counsel reminded Mrs. Pai

  that the deadline for Plaintiffs to respond to Defendant’s discovery requests was soon

  approaching. Mrs. Pai then confirmed her current address on the record. The Court

  informed Mrs. Pai that all court dates and deadlines would not be adjusted and that a

  telephone conference was set for June 12, 2020 at 9:30 a.m. A copy of the minutes from

  the April 30, 2020 telephone conference was mailed to Plaintiffs and was not returned to

  the Court as undeliverable.

  C.     Plaintiffs Failed to Appear at the June 12, 2020 Telephone Conference.

         On June 12, 2020, Plaintiffs failed to appear for a telephone conference. ECF No.

  44. Mrs. Pai had actual notice of the June 12, 2020 telephone conference because she

  was present when it was scheduled. See ECF No. 30. Further, the Court had mailed


                                               3
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 4 of 12                 PageID #: 363




  notice of the June 12, 2020 telephonic hearing to Plaintiffs. At the June 12, 2020

  telephone conference, the Court cautioned Plaintiffs that “they [were] responsible for

  prosecuting this action, appearing at all proceedings and complying with all deadlines,

  court rules and orders.” ECF No. 44. The Court further warned Plaintiffs that “[f]ailure

  to do so may result in imposition of sanctions to include, but not limited to, dismissal of

  this action and judgment entered against them.” Id. A copy of the minutes from the June

  12, 2020 telephone conference was mailed to both Plaintiffs.

  D.     Plaintiffs Failed to Oppose, Respond to, or Appear for the Telephonic Hearing on

         Defendant’s Motion to Amend the Rule 16 Scheduling Order and Motion to

         Compel Discovery.

         On May 5, 2020, Defendant filed a Motion to Amend the Rule 16 Scheduling

  Order to Extend the Deadlines for the Filing of Dispositive Motions and Disclosure of

  Expert Testimony (“Motion to Amend”). ECF No. 32. Defendant alleged that the

  extension was sought because of difficulties obtaining discovery from Plaintiffs. Id. On

  May 12, 2020, Defendant filed a Motion to Compel Discovery. ECF No. 35. Defendant

  alleged that Plaintiffs had not responded to discovery requests, and Defendant was unable

  to contact Plaintiffs directly.

         On June 18, 2020, Plaintiffs failed to appear for the hearing on the Motion to

  Amend (ECF No. 32) and Motion to Compel Discovery (ECF No. 35). ECF No. 48. The

  Court again cautioned Plaintiffs that sanctions, including dismissal and entry of judgment

  against them, may be imposed for failure to prosecute, failure to appear for all

  proceedings, and failure to comply with all deadlines, court rules and orders. The Court


                                               4
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 5 of 12                  PageID #: 364




  granted the motions and required Plaintiffs to fully respond to Defendant’s outstanding

  discovery requests by no later than July 1, 2020 (“Discovery Order”). The Court

  cautioned that failure to meet this deadline may result in sanctions. A copy of the

  minutes was sent to Plaintiffs.

  E.     Plaintiffs Failed to Submit Confidential Settlement Conference Statements and

         Failed to attend the August 4, 2020 Settlement Conference.

         On August 4, 2020, Plaintiffs failed to appear for the settlement conference and

  failed to submit a confidential settlement conference statement as required. Defense

  counsel stated that he did not have any recent communication with Plaintiffs and that

  Plaintiffs failed to comply with the Court’s Discovery Order. The Court again cautioned

  Plaintiffs of their obligation to litigate and follow the applicable rules. A copy of the

  minutes was sent to Plaintiffs.

                                         DISCUSSION

  A.     The Court has the Authority to Dismiss This Case

         Courts have the authority to dismiss a case for lack of prosecution or for failure to

  comply with court orders. See Pagtalunan v. Galaza, 291 F.3d 639, 640 (9th Cir. 2002);

  Ferdik v. Bonzelet, 963 F.2d 1258, 1260-61 (9th Cir. 1992).

         The Local Rules of Practice for the United States District Court for the District of

  Hawaii (“Local Rule”) also provides for the dismissal of a case and/or sanctions when a

  plaintiff fails to prosecute. Under Local Rule 11.1, a party’s failure to comply with any

  provision of the Local Rules is grounds for sanctions, including a dismissal. Local Rule

  81.1 also provides that pro se litigants who fail to abide by the local, federal, and other


                                                5
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 6 of 12                    PageID #: 365




  applicable rules and/or statutes may face sanctions, including entry of default judgment

  or dismissal with prejudice. Under Local Rule 16.1, a self-represented party failing to

  prosecute the case with diligence may face “sanctions, including dismissal of the case

  after notice and an opportunity to be heard.” Local Rule 16.5(b)(3) imposes sanctions

  when a party fails to attend a settlement conference or fails to be available by telephone.

  “Failure to timely deliver a Confidential Settlement Conference Statement may also

  result in sanctions.” LR16.5(b)(3).

         Since April 2020, Plaintiffs have failed to appear at Court hearings, failed to

  prosecute their case and/or defend against Defendant’s motions, failed to comply with

  Court orders, failed to comply with the applicable Court and procedural rules, and failed

  to submit a confidential settlement conference statement. As such, the Court has the

  authority under the Local Rules to recommend the dismissal of this case.

  B.     The Five Pagtalunan Factors Weigh in Favor of Dismissal

         In deciding whether dismissal is appropriate, the Court must weight five (5)

  factors under Pagtalunan:

         (1) the public’s interest in expeditious resolution of litigation; (2) the court’s
         need to manage its docket; (3) the risk of prejudice to
         defendants/respondents; (4) the availability of less drastic alternatives; and
         (5) the public policy favoring disposition of cases on their merits.”

  Pagtalunan v. Galaza, 291 F.3d 639, 642 (9th Cir. 2002) (citing Ferdik v. Bonzelet, 963

  F.2d 1258, 1260-61 (9th Cir. 1992)). The Court, having careful evaluating and weighting

  of these factors, FINDS and RECOMMENDS that this case be DISMISSED WITHOUT

  PREJUDICE.

         1.     The Public’s Interest in the Expeditious Resolution of Litigation

                                                 6
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 7 of 12                   PageID #: 366




         This first factor “always favors dismissal.” Pagtalunan, 291 F.3d at 642 (citing

  Yourish v. California Amplifier, 191 F.3d 983, 990 (9th Cir. 1999)). Given the delays

  caused by Plaintiffs’ failure to comply with the Court’s Discovery Order, failure to

  participate in a settlement conference, and blatant disregard of the applicable rules, this

  factor weighs heavily in favor of dismissal.

         2.     The Court’s Need to Manage Its Docket

         The second factor also weighs in favor of dismissal as Plaintiffs’ routine

  noncompliance has consumed the Court’s time that could have been devoted to other

  cases. Id. (“[i]t is incumbent upon the Court to manage its docket without being subject

  to routine noncompliance of litigants . . . ”). “The trial judge is in the best position to

  determine whether the delay in a particular case interferes with docket management and

  public interest.” Id. (citing Yourish, 191 F.3d at 990). In this case, the Court has held

  hearings on the various motions filed by the Defendant. If Plaintiffs intended to concede

  to the Motion to Amend (ECF No. 32) or Motion to Compel Discovery (ECF No. 35),

  they should have filed a statement of no opposition. This would have obviated the need

  for the hearings. Further, Plaintiffs’ failure to respond to the Motion for Sanctions led the

  Court to issue and hold a hearing on the Order to Show Cause.

         3.     Risk of Prejudice to the Defendant

         “To prove prejudice, a defendant must establish that plaintiff’s actions impaired

  defendant’s ability to proceed to trial or threatened to interfere with the rightful decision

  of the case.” Id. (citing Malone v. United States Postal Serv., 833 F.2d 128, 131 (9th Cir.

  1987)). The Courts have “recognized that pendency of a lawsuit is not sufficiently


                                                 7
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 8 of 12                   PageID #: 367




  prejudicial in and of itself to warrant dismissal.” Id. (citing Yourish, 191 F.3d at 991).

  “Limited delays and the prejudice to a defendant from the pendency of a lawsuit are

  realities of the system that have to be accepted, provided the prejudice is not compounded

  by ‘unreasonable delays.’” Pagtalunan, 291 F.3d at 642 (quoting Ash v. Cvetkov, 739

  F.2d 493, 496 (9th Cir. 1984)).

          In this case, Defendant is prejudiced as it is unable to defend against Plaintiffs’

  allegations. Plaintiffs repeatedly failed to respond to Defendant’s discovery requests and

  further ignored this Court’s Discovery Order. As a result, Defendant has had to seek an

  amendment to the Rule 16 Scheduling order to extend the dispositive motions and expert

  testimony disclosure deadlines. The trial date of November 2, 2020 is approaching fast,

  and Defendant is unable to defend this lawsuit without discovery. Defendant has also

  been prejudiced as it cannot communicate with Plaintiffs to resolve disputed issues (thus

  avoiding filed motions) and was deprived of the opportunity to seek a resolution of this

  case.

          Further, “[w[hen a party offers a poor excuse (or, in this case, no excuse) for

  failing to comply with a court’s order, the prejudice to the opposing party is sufficient to

  favor dismissal.” Young v. Dist. Court Judges, No. 20-CV-00335-DKW-RT, 2020 WL

  4810109, at *1 (D. Haw. Aug. 18, 2020) (citation omitted). Accordingly, this factor

  weighs in favor of dismissal.

          4.     Availability of Less Drastic Alternatives

          When Plaintiffs’ attorney sought a withdrawal of counsel, Plaintiffs were informed

  of their obligation to follow all court rules and procedures. See ECF No. 27. During the


                                                 8
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 9 of 12                   PageID #: 368




  April 30, 2020 telephone conference, the Court informed Mrs. Pai of her responsibility to

  prosecute this action. ECF No. 30. When Plaintiffs failed to appear at the June 12, 2020

  telephone conference, the Court cautioned Plaintiffs about their obligations and warned

  them that the failure to prosecute and/or follow the rules may result in sanctions,

  including the dismissal of this action and judgment. ECF No. 44.

         On June 18, 2020, even though Plaintiffs did not respond to Defendant’s motions,

  the Court nevertheless held the hearing to allow Plaintiffs the opportunity to speak. ECF

  No. 48. Plaintiffs did not appear for the hearing. The Court granted Defendant’s Motion

  to Amend and Motion to Compel Discovery. The Court again cautioned Plaintiffs about

  their responsibility to prosecute this action, appearing for all proceedings, and complying

  with all deadlines, court rules and orders. Plaintiffs were sent a copy of the minutes on

  the June 18, 2020 hearing.

         On August 4, 2020, Plaintiffs failed to attend the settlement conference. Plaintiffs

  also failed to submit a confidential settlement conference statement.

         In addition, the Court had sent notices to Plaintiffs regarding scheduled hearings

  and the Court’s disposition on the various motions. These notices have not returned to

  the Court as undeliverable. However, even if Plaintiffs have not been receiving the

  Court’s notices at the address they provided, it is Plaintiffs’ responsibility to ensure that

  the address given to the Court is current. LR83.1(e)(1) & (2). Self-represented litigants

  are required to file with the court and serve on all parties a Notice of Change of Address

  within fourteen (14) days. In fact, the failure to comply with the change of address

  requirement may also result “in sanctions, including . . . dismissal of the case . . . when . .


                                                 9
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 10 of 12                  PageID #: 369




  . [a] document directed to the . . . self-represented litigant by the court has been returned

  to the court as not deliverable . . . ” LR 83.1(3)(2)(a).

         Time and time again, the Court has provided Plaintiffs with the opportunity to

  prosecute, comply, or appear. Even as Defendant moved for dismissal, Plaintiffs were

  given two opportunities to oppose: once in response to Defendant’s Motion for Sanctions,

  and a second time when Plaintiffs were given the opportunity to respond to the Court’s

  Order to Show Cause. In fact, even when faced with the possibility of dismissal through

  the Motion for Sanctions and/or Order to Show Cause, Plaintiffs did not respond or

  attend the hearings.

         The record reflects that Plaintiffs have consistently and repeatedly failed to

  prosecute or comply. It is clear that less drastic alternatives are not available and if

  imposed, Plaintiffs will not likely comply. Accordingly, this Court FINDS that this

  factor weighs in favor of dismissal.

         5.     Public Policy Favoring Disposition of Cases on Their Merits

         This last factor “favors disposition of cases on the merits.” Pagtalunan, 291 F.3d

  at 643. As such, this factor weighs against dismissal of this case.

         6.     The Five Factors Favor Dismissal Without Prejudice

         The Court FINDS that four (4) out of the five (5) factors weigh in favor of

  dismissal. The fifth factor, public policy, is far outweighed by the other factors.

  Accordingly, the Court FINDS the five Pagtalunan factors weigh in favor of dismissal.

  Plaintiffs’ failure to prosecute provides sufficient grounds to dismiss the case without




                                                10
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 11 of 12                PageID #: 370




  prejudice. Accordingly, the Court FINDS that dismissal is appropriate and

  RECOMMENDS that the district court dismiss all claims.

                                       CONCLUSION

         The Court FINDS that Plaintiffs failed to comply with the applicable rules, failed

  to prosecute and meet its obligations, and failed to abide by this Court’s Discovery Order

  despite multiple warnings by the Court informing Plaintiffs of their duty to prosecute and

  comply with the rules. The Court further finds that the five Pagtalunan factors weigh in

  favor of dismissal of this case without prejudice. Accordingly, the Court FINDS and

  RECOMMENDS that this action be DISMISSED WITHOUT PREJUDICE.

         The current trial date and all deadlines are VACATED.

         The Clerk’s office is directed to mail a copy of this Findings and Recommendation

  to each Plaintiff.

         Any party to this litigation may file and serve an objection to the Findings and

  Recommendation within fourteen (14) days after being served. “The objection must

  specifically designate portions of the . . . findings and recommendations to which the

  party is objecting and the basis of the objection.” LR74.1(a). A party opposing the

  objection may file and serve a response to the objection within fourteen (14) days after

  service of the objection. Failure to meet the deadline to object or respond constitutes a

  waiver of the objection or response. See Turner v. Duncan, 158 F.3d 449, 455 (9th Cir.

  1998) (“Failure to object to a magistrate judge’s recommendation waives all objections to

  the magistrate judge’s findings of fact”); Baxter v. Sullivan, M.D., 923 F.2d 1391, 1394




                                              11
Case 1:19-cv-00440-JAO-RT Document 59 Filed 09/04/20 Page 12 of 12                          PageID #: 371




  (9th Cir. 1991) (“we have held that parties who do not object to a magistrate’s report

  waives their right to challenge the magistrate’s findings”). No reply will be permitted.

         IT IS SO FOUND AND RECOMMENDED.

         DATED: Honolulu, Hawaii, September 4, 2020.




                                                    /s/ Rom A. Trader
                                                    Rom A. Trader
                                                    United States Magistrate Judge




  _______________________________________________________________________
  Civ. No. 19-00440 JAO-RT; Pai, et al. v. County of Hawaii, et al.; Findings and Recommendation to 1)
  Grant Defendant County of Hawaiʽi’s Motion for Sanctions Against Plaintiffs and 2) Dismiss this Action;
  and 3) Order Vacating Trial Date and Deadlines




                                                    12
